    Case 10-93904-BHL-11          Doc 184 Filed 01/11/11 EOD 01/11/11 11:04:36   Pg 1 of 1
                                  SO ORDERED: January 11, 2011.




                                  ______________________________
                                  Basil H. Lorch III
                                  United States Bankruptcy Judge




                             UNITED STATES BANKRUPTCY COURT                 SGENERIC (rev 11/2010)
                               SOUTHERN DISTRICT OF INDIANA
                                    121 W Spring St Rm 110
                                     New Albany, IN 47150

In Re:
    Eastern Livestock Co., LLC                            Case Number:
       SSN: NA               EIN: NA                      10−93904−BHL−11
    Debtor(s)

                                             ORDER

     A(n) Motion to Appear Pro Hac Vice was filed with the Clerk of Court on January 5, 2011,
by David L. LeBas.

      IT IS THEREFORE ORDERED that the Motion to Appear Pro Hac Vice is GRANTED.
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